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                      UNITED STATES DISTRICT COURT
                                     for the
                              District of Columbia




              United States of America            ) Case No. 21- CR- 00232
                       v.                         )
                                                  )
                Richard Michetti                  )




                              ENTRY OF APPEARANCE


TO THE CLERK:

Please enter my appearance on behalf of the defendant Richard Michetti in the
above-referenced matter.



                                                    Respectfully submitted,




                                                   ______________________
                                                   PERRY de MARCO, SR.
                                           LAW OFFICES OF PERRY de MARCO, SR.
                                           BY: PERRY de MARCO, Sr., ESQUIRE
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